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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK



 BALCHEM CORPORATION and ALBION                       ECF CASE
 LABORATORIES, INC.,
                                                      7:18-CV-02677 (KMK)
                         Plaintiffs,
                                                      [PROPOSED]
           v.                                         ORDER FOR ADMISSION
                                                      PRO HAC VICE
 DANIEL TODD EDWARDS and MIL
 AGRO, INC.,

                         Defendants.


         Upon the motion of Charles J. Veverka, Esq., counsel to defendants Daniel Todd

Edwards and Mil Agro Inc., in the above-captioned case, for the admission pro hac vice of

Charles J. Veverka, Esq. in the above-captioned case, and the declaration of the same in support;

         IT IS HEREBY ORDERED that

         Applicant’s Name: Charles J. Veverka, Esq.
         Firm Name: Maschoff Brennan PLLC
         Address: 1389 Center Drive, Suite 300
         City/State/Zip: Park City, Utah 84098
         Telephone: (435) 252-1360
         Fax: (435) 252-1361
         E-mail: cvevera@mabr.com

is admitted to practice pro hac vice as counsel for defendants Daniel Todd Edwards and Mil

Agro Inc., in the above-captioned case in the United States District Court of the Southern

District of New York. All attorneys appearing before this Court are subject to the Local Rules of

this Court, including the Rules governing discipline of attorneys.

Dated:

                                                   United States District Judge
